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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA

 JANE DOE,                                             )
                                                       )
         PLAINTIFF,                                    )
                                                       )
 V.                                                    )
                                                       ) CASE NO. 1:22-CV-01281-TWP-MJD
 NETFLIX, INC., NETFLIX WORLDWIDE                      )
 ENTERTAINMENT, LLC, AND                               )
 BLUMHOUSE PRODUCTIONS, LLC,                           )
                                                       )
         DEFENDANTS,                                   )


                            PARTIES’ JOINT RULE 26(F) REPORT

         Pursuant to Fed. R. Civ. P. 26(f)(2), and in addition to the Proposed Case Management

 Plan that will be filed by the parties pursuant to the Court’s Order, the parties jointly submit their

 written report of Rule 26(f) conference and discovery plan.

         On August 3, 2022 the parties, through counsel, participated in a telephonic Rule 26(f)

 conference. The parties discussed, inter alia, the following Fed. R. Civ. P. 26(f)(3) Discovery

 Plan topics:

         (A) what changes should be made in the timing, form, or requirement for disclosures

 under Rule 26(a), including a statement of when initial disclosures were made or will be made;

         The parties will make the Rule 26(a) initial disclosures in accordance with the

 schedule set by the Court.

         (B) the subjects on which discovery may be needed, when discovery should be

 completed, and whether discovery should be conducted in phases or be limited to or focused on

 particular issues;
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        The parties will provide a proposed discovery schedule in their Proposed Case

 Management Order. Except to the extent described in that Proposed Case Management

 Order, if any, Plaintiff does not believe that phases, limitations, or focuses are required at

 this time. The parties are considering filing a Joint Motion to Consolidate.

        Plaintiff states that the following general subjects may require discovery, while

 reserving all rights to all relevant discovery: Defendants’ production, dissemination,

 revenues, profits, etc. associated with the Documentary; any claims of consent by

 Defendants; Defendants’ intent in releasing Plaintiff’s name without authorization;

 communications between Defendants; communications with Jason Blum; communications

 with producers of the Documentary; the editing process of the Documentary; Plaintiff’s

 damages and reputational harm; etc.

        Defendant states that the following general subjects may require discovery, while

 reserving all rights to all relevant discovery: Plaintiff’s communications with producers of

 the Documentary and the named defendants; Plaintiff’s communications with anyone

 about the Documentary; Plaintiff’s communications about Dr. Cline or the subject matter

 of the Documentary; Plaintiff’s own disclosure to others of the fact that she is Dr. Cline’s

 child; Plaintiff’s discovery of the fact that she is Dr. Cline’s child; Plaintiff’s desire to keep

 her status as a child of Dr. Cline secret and conduct related thereto; communications with

 other half-siblings; all public documents, articles, or posts referencing Plaintiff’s name in

 connection with Dr. Cline; Plaintiff’s reputation, her alleged damages, and the basis for

 claimed damages.

        Nothing in this document or the parties’ Joint Case Management Plan was intended

 to waive any party’s right to object to discovery.



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          (C) any issues about disclosure, discovery, or preservation of electronically stored

 information, including the form or forms in which it should be produced;

          The parties will describe the form in which ESI should be produced in their

 Proposed Case Management Order. The parties agree that discovery requests and

 responses may be served via email simultaneously upon all counsel of record. The parties

 agree that the obligation to log privileged/attorney work product records ceases as of the

 date of the filing of the Complaint in this matter and that privilege logs may be produced

 within a reasonable time after production.

          (D) any issues about claims of privilege or of protection as trial-preparation materials,

 including—if the parties agree on a procedure to assert these claims after production—whether

 to ask the court to include their agreement in an order under Federal Rule of Evidence 502;

          The parties will address a privilege claw back in their Proposed Case Management

 Order.

          (E) what changes should be made in the limitations on discovery imposed under these

 rules or by local rule, and what other limitations should be imposed; and

          If needed, the parties will discuss and may agree to a limit on the number and

 identity of custodians and the number and form of search terms once fulsome Requests for

 Production have been served and reviewed.

          In the event that remote depositions occur in this case, the parties stipulate: (1) the

 court reporter must be a notary public in any jurisdiction in the United States, but not any

 particular jurisdiction; (2) the court reporter may administer the oath remotely; (3) all

 attending individuals, including the court reporter, may participate remotely; (4) nothing

 in this stipulation will prohibit a defending attorney from being in the same room as the



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 witness, though if that occurs counsel will also be visible on the video feed; (5) the video

 feed may be recorded and used just as if a videographer were in the room with the witness;

 (6) exhibits will be displayed via screen share, sent via email, shared via electronic

 platform, or physically handed to the witness; and they shall also be transmitted to the

 court reporter for inclusion in the record; (7) this stipulation shall not be construed as any

 party’s waiver of the right to take an in person deposition.

        (F) any other orders that the court should issue under Rule 26(c) or under Rule 16(b) and

 (c).

        The parties will file their Proposed Stipulated Case Protective Order.


        DATED: August 3, 2022                        /s/Matthew T. Ciulla
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing has been served on August 3, 2022, on all

 counsel of record by virtue of the Court’s CM/ECF System.

                                                                    /s/Matthew T. Ciulla




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